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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

YETI COOLERS, LLC,                                  §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                    1:17-CV-938-RP
                                                    §
DUNHUANG GROUP;                                     §
SZ FLOWERFAIRY TECHNOLOGY LTD.;                     §
TAN ER PA TECHNOLOGY CO., LTD.;                     §
SHENZHEN GREAT ELECTRONIC                           §
TECHNOLOGY CO., LTD.; and                           §
HUAGONG TRADING CO., LTD.;                          §
                                                    §
                Defendants.                         §

                                               ORDER

        Before the Court is Plaintiff YETI Coolers, LLC’s (“YETI”) Notice of Voluntary Dismissal.

(Dkt. 24). In its notice, YETI indicates that it is voluntarily dismissing its claims against Defendants

SZ Flowerfairy Technology Ltd., Tan Er Pa Technology Co., Ltd., Shenzhen Great Electronic

Technology Co., Ltd., and Huagong Trading Co., Ltd., (collectively, “Defendants”) without

prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(i). (Id.). Rule 41(a)(1)(A)(i) allows a

plaintiff to voluntarily dismiss an action without a court order by filing a notice of dismissal before

the opposing party serves an answer or a motion for summary judgment. Fed. R. Civ. P.

41(a)(1)(A)(i). Defendants have not served an answer or a motion for summary judgment. The Court

therefore ORDERS that this action is DISMISSED WITHOUT PREJUDICE. All costs shall be

taxed to the party incurring them. This action is CLOSED.

        SIGNED on May 24, 2018.

                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
